         Case 1:19-cv-00511-BLW Document 20 Filed 03/10/20 Page 1 of 5




                             UNITED STATES DISTRICT COURT

                                FOR THE DISTRICT OF IDAHO

  TRIPLE T ENTERPRISES, INC., an Idaho
  corporation,                                      Case No. 1:19-cv-511-REB

                       Plaintiff,

          v.

  KFC CORPORATION, a Delaware
                                                    SCHEDULING ORDER
  corporation; GRUBHUB INC., a Delaware
  corporation; and POSTMATES INC., a                (STANDARD TRACK)
  Delaware corporation,

                       Defendants.



  KFC CORPORATION, a Delaware
  corporation; GRUBHUB INC., a Delaware
  corporation; and POSTMATES INC., a
  Delaware corporation,

                       Counterclaimants,

          v.

  TRIPLE T ENTERPRISES, INC., an Idaho
  corporation,

                       Counter-Defendant.



       In accordance with the agreements reached in the telephone scheduling conference held

between counsel and the Court on March 10, 2020, and to further the just, speedy, and

inexpensive determination of this matter,

       NOW THEREFORE IT IS HEREBY ORDERED that the following deadlines and

procedures will govern this litigation:

SCHEDULING ORDER - 1
           Case 1:19-cv-00511-BLW Document 20 Filed 03/10/20 Page 2 of 5




1.     Dispositive Motion Deadline: All dispositive motions, including motions for punitive

       damages, must be filed by February 12, 2021.1

2.     Amendment of Pleadings and Joinder of Parties: Motions to amend pleadings and join

       parties, except for allegations of punitive damages, must be filed on or before June 10,

       2020. This deadline will be extended only for good cause shown.2

3.     Alternative Dispute Resolution: The parties have chosen to participate in a judicially

       supervised settlement conference. ADR must be held by January 22, 2021. Within

       seven (7) days of this Order, the parties are directed to contact Emily Donnellan, the

       ADR Administrator, at adr@id.uscourts.gov, so that she may assign a settlement

       conference judge and schedule a date for the settlement conference. Please ensure that

       all emails directed to adr@id.uscourts.gov contain the case number and title in the email

       subject line.

4.     Discovery Plan: All discovery must be in accordance with the Federal Rules of Civil

       Procedure, the Local Rules for the District of Idaho, and the parties’ joint discovery plan

       (Dkt. 18) which is incorporated herein by reference.

               In addition, the parties indicated both in their joint discovery plan and during the



       1
         It is this Court’s policy to accept only one (1) motion to dismiss and one summary
judgment motion per party. If it appears, due to the complexity or number of issues presented,
that counsel is unable to address all issues within the twenty-page (20) limit for briefs, Dist.
Idaho Loc. R. 7.1(b)(1), then it is appropriate to file a motion for permission to file an over-
length brief, rather than filing separate motions for each issue. The Court prefers reviewing one
over-length brief in support, one over-length brief in response, and one 10-page reply brief, if
any, rather than the panoply of briefs that are generated when multiple motions are filed.
       2
         The Ninth Circuit has held that motions to amend filed after the Scheduling Order
deadline are governed not by the liberal provisions of Fed. R. Civ. P. 15(a), but instead, by the
more restrictive provisions of Fed. R. Civ. P. 16(b) requiring a showing of “good cause.”
Johnson v. Mammoth Recreations, Inc., 975 F.2d 604 (9th Cir. 1992).

SCHEDULING ORDER - 2
          Case 1:19-cv-00511-BLW Document 20 Filed 03/10/20 Page 3 of 5




     telephone scheduling conference that they are coordinating to define how Electronically

     Stored Information (ESI) will be handled, specifically with reference to identifying

     custodians and to agreeing to search terms. Toward this end, the parties must submit a

     supplemental discovery plan by April 21, 2021, after which the Court anticipates issuing

     a supplemental scheduling order.

5.   Clawback: Pursuant to Fed. R. Evid. 502(d), and Section VII of the parties’ stipulated

     discovery plan, it is hereby ORDERED that production of a privileged or work-product-

     protected document, whether inadvertent or otherwise, is not a waiver of privilege or

     work-product protection in this case or in any other federal or state proceeding.

6.   Completion of Fact Discovery: All fact discovery must be completed by January 15,

     2021. This is a deadline for the completion of all fact discovery; it is not a deadline for

     discovery requests. Discovery requests must be made far enough in advance of this

     deadline to allow completion of the discovery by the deadline date.

7.   Disclosure of Experts:

     a.       Parties advancing claims must disclose the experts intended to be called at trial

              on or before September 1, 2020.

     b.       Parties defending claims must disclose the experts intended to be called at trial

              on or before October 1, 2020.

     c.       Parties advancing claims must disclose rebuttal experts intended to be called at

              trial on or before October 15, 2020.

     d.       ALL discovery relevant to experts must be completed by: January 28, 2021.

8.   Scheduling of Trial and Pretrial Conference. Plaintiff’s counsel must contact courtroom

     deputy Lynette Case within one week following the entry of a decision on all pending


SCHEDULING ORDER - 3
           Case 1:19-cv-00511-BLW Document 20 Filed 03/10/20 Page 4 of 5




      dispositive motions to make arrangements for a telephonic trial setting conference with

      the Court to set pre-trial and trial deadlines. If no dispositive motion is filed, Plaintiff’s

      counsel must immediately contact the courtroom deputy within one week of the

      dispositive motion filing deadline to set a telephonic trial setting conference.

9.    Law Clerk: The law clerk assigned to this case is Kenny Shumard, who may be reached

      at (208) 334-1376. If this case is later reassigned or referred to another judge, consult the

      Judges’ webpage3 for the judge’s staff directory.

10.   Discovery Disputes:

      a.       The parties will strictly comply with the meet and confer requirements of Local

               Rule 37.1 prior to filing any discovery motions.

      b.       The parties are to refer to the Judge’s webpage4 for specific instructions regarding

               how the Judge handles discovery disputes.

      c.       Prior to filing any discovery motions, counsel must certify, not only that they

               have complied with Local Rule 37.1, but that they have complied with the Judge’s

               discovery dispute procedures.

11.   The Court will conduct a telephonic status conference with the parties on June 2, 2020

      at 10:30 a.m. Mountain Time for the purpose of inquiring about the status of discovery.

      Defendants KFC and Grubhub must initiate the conference call by placing it to (208)

      334-1495 and must have all appropriate parties on the line. Additional status conferences

      may be set by the Court at a later time.

12.   Calendaring Clerk: Scheduling matters and calendar issues may be directed to Lynette


      3
          http://id.uscourts.gov/district/judges/Welcome.cfm
      4
          http://www.id.uscourts.gov/district/judges/bush/Discovery_Disputes.cfm

SCHEDULING ORDER - 4
          Case 1:19-cv-00511-BLW Document 20 Filed 03/10/20 Page 5 of 5




      Case, who may be reached at (208) 334-9023. If the case is later reassigned or referred,

      please consult the Judges’ webpage5 for a staff directory.

13.   Docketing Clerk: If you have a docketing or filing question, please contact a docket

      clerk6 at (208) 334-1361.



                                                   DATED: March 10, 2020


                                                   _________________________
                                                   Honorable Ronald E. Bush
                                                   Chief U.S. Magistrate Judge




      5
       http://id.uscourts.gov/district/judges/Welcome.cfm
      6
       The Clerk’s office staff directory may be found on the Court’s webpage:
      http://id.uscourts.gov/district/attorneys/DocketingCourtroom_Dep.cfm


SCHEDULING ORDER - 5
